 1 Jered T. Ede (SBN 273440)
   jered@clarelocke.com
 2 CLARE LOCKE LLP
   10 Prince Street
 3 Alexandria, Virginia 22314
   Telephone: (202) 628-7400
 4 Facsimile: (202) 478-0475
 5 Attorney for Clare Locke LLP
 6
 7
 8
 9                                UNITED STATES DISTRICT COURT

10                           NORTHERN DISTICT OF CALIFORNIA

11                                   SAN FRANCISCO DIVISION

12
     KYTCH, INC.,                               CASE No. 23-CV-01998-TSH
13
                     Plaintiff,                 CLARE LOCKE LLP’S
14                                              SUPPLEMENTAL AUTHORITY IN
          v.                                    SUPPORT OF RESPONSE TO MOTION
15                                              TO STRIKE
     MCDONALD’S,
16
                     Defendants.
17
18
19

20
21
22
23
24
25
26
27
28
                    CLARE LOCKE LLP’S SUPPLEMENTAL AUTHORITY IN SUPPORT OF
                                 RESPONSE TO MOTION TO STRIKE
                                              1
 1            On April 30, 2024 (Dkt. 59), Clare Locke LLP responded to Plaintiff Kytch, Inc.’s Motion

 2 To Strike (Dkt. 58). In its response, Clare Locke referenced the confirmation proceeding it had
 3 initiated to enforce the Emergency Award that, among other things, enjoins Plaintiff Kytch, Inc.

 4 from dismissing this action until Clare Locke’s attorneys’ liens have been resolved. On May 14,
 5 2024, the United States District Court for the Eastern District of Virginia granted Clare Locke’s
 6 motion and confirmed the Emergency Award. A copy of that order is attached hereto as Exhibit 1.
 7 The transcript of the confirmation hearing, which includes the Court’s reasons for granting Clare
 8 Locke’s motion, is attached hereto as Exhibit 2.
 9
10
11
     Dated:        May 15, 2024                    Respectfully Submitted,
12
                                                   CLARE LOCKE LLP
13                                                 By: /s/ Jered T. Ede
                                                   Jered T. Ede SBN 273440
14
                                                   Attorney for Clare Locke LLP
15

16
17
18
19

20
21
22
23
24
25
26
27
28
                      CLARE LOCKE LLP’S SUPPLEMENTAL AUTHORITY IN SUPPORT OF
                                   RESPONSE TO MOTION TO STRIKE
                                                2
 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that, on May 15, 2024, I electronically filed the foregoing with the Clerk of

 3 the Court using the CM/ECF system, which will send a notification of such filing the following:

 4 CLARE LOCKE LLP’S SUPPLEMENTAL AUTHORITY IN RESPONSE TO MOTION TO
 5 STRIKE.
 6                                                        By: /s/ Jered T. Ede
                                                          Jered T. Ede
 7
 8 Meier Watkins Phillips Pusch LLP
   Daniel P. Watkins (pro hac vice)
 9 1629 K Street N.W., Suite 300
10 Washington, D.C. 20006
   Telephone: (202) 318-3655
11 daniel.watkins@mwpp.com
12
     Irell & Manella
13   Jason Sheasby SBN 205455
     1800 Avenue of the Stars, Suite 900
14   Los Angeles, California 90067-4267
15   Telephone: (310) 277-1010
     Facsimile: (310) 203-7199
16   jsheasby@irell.com
17 Attorneys for Kytch, Inc.
18
     Young Conaway Stargatt & Taylor, LLP
19
   Catherine Y. Lui
20
   Nicole Gelsomini
21 The Orrick Building
   405 Howard Street
22 San Francisco, CA 94105
   (415) 773-5700
23 clui@orrick.com
   ngelsomini@orrick.com
24
   Kristopher R. Wood
25 2050 Main Street, Suite 1100
   Irvine, CA 92614
26 (949) 567-6700
   kristopher.wood@orrick.com
27
28
                     CLARE LOCKE LLP’S SUPPLEMENTAL AUTHORITY IN SUPPORT OF
                                  RESPONSE TO MOTION TO STRIKE
                                               3
 1 Elena C. Norman (No. 4780)
   Anne Shea Gaza (No. 4093)
 2 Samantha G. Wilson (No. 5816)
   Rodney Square
 3 1000 North King Street
   Wilmington, DE 19801
 4 (302) 571-6600
   enorman@ycst.com
 5 agaza@ycst.com
   swilson@ycst.com
 6
   Attorneys for Defendant McDonald’s Corporation
 7
 8
 9
10
11
12
13
14
15

16
17
18
19

20
21
22
23
24
25
26
27
28
                  CLARE LOCKE LLP’S SUPPLEMENTAL AUTHORITY IN SUPPORT OF
                               RESPONSE TO MOTION TO STRIKE
                                            4
